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9
                                UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                   SAN FRANCISCO DIVISION
12
13   UNITED STATES OF AMERICA,                 )    No. CR 06-0090-MHP
                                               )
14           Plaintiff,                        )
                                               )
15      v.                                     )
                                               )    STIPULATION AND [PROPOSED]
16   HARUT KORAKOSSIAN,                        )    PROTECTIVE ORDER
       a/k/a Harry Korakossian,                )
17     a/k/a Harut Korakissian,                )
       a/k/a Harry Korakissian,                )
18     a/k/a Harutyun Kirakossian,             )
     WILSON FUNG,                              )
19   EDWARD RIDGELL, and                       )
     DAISY TORRES CRUZ,                        )
20                                             )
                                               )
21           Defendants.                       )
                                               )
22
23
24      Defendants are charged with violations of Title 18, United States Code, Sections 1347
25   and 2– Health Care Fraud and Aiding, and Title 18, United States Code, Section 1349 –
26   Conspiracy to Commit Health Care. In the course of discovery in this matter, the
27   defendants have requested production and review of documentary evidence in the
28   possession of the government which contains individually identifiable information

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1    disclosing medical information about patients who are not parties to this proceeding. The
2    underlying substantive facts in this documentary evidence may be material and necessary
3    to the prosecution or defense of this proceeding. To expedite the production of discovery
4    material and to adequately protect the individually identifiable health information, the
5    parties agree and stipulate that materials containing individually identifiable health
6    information will be handled in accordance with the conditions set forth below. In order to
7    protect the confidentiality of this information, and with the stipulation of the parties, the
8    government asks the Court to enter the following protective order:
9                  1.      Before producing materials containing individually identifiable
10   health information, the government will designate such materials as confidential by
11   affixing “CONFIDENTIAL HEALTH INFORMATION –SUBJECT TO PROTECTIVE
12   ORDER” to the material itself or to the diskette or CD-Rom containing the material.
13                 2.      Except when being actively examined for the purpose of the
14   preparation of the defense’s case, defense counsel shall maintain the protected material in
15   a locked, safe, and secure drawer, cabinet, safe, or room which is accessible only to
16   defense counsel. Defense counsel shall not permit any person access of any kind to the
17   protected materials except as set forth below.
18                 3.      If any defense counsel wishes to utilize the services of any paralegal,
19   investigator, expert or other individual to review the protected materials in connection
20   with the preparation of a defense, prior to receiving access to the materials such
21   individual must sign a copy of the “Acknowledgment of Protective Order and Proper
22   Handling of Materials Subject Thereto” attached to a copy of this Order acknowledging
23   that:
24                 a)      he/she has reviewed the Order;
25                 b)      he/she understand its contents;
26                 c)      he/she agrees that he/she will only access the protected materials for
27   the purposes of preparing the defense case;
28                 d)      he/she will not make any copies of any of the protected materials

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1    without further order of the Court;
2                    e)     he/she understands that failure to abide by this Order may result in
3    sanctions by this Court.
4              Defense counsel shall promptly file signed copies of the Order along with the
5    signed Acknowledgment of Protective Order and Proper Handling of Materials Subject
6    Thereto Order, ex parte and under seal. The government shall have no access to these
7    signed copies without further order of the Court.
8                    4.     A copy of this order shall be maintained with the protected material
9    at all times.
10                   5.     Counsel should make every effort to redact the individually
11   identifiable health information that is included in pleadings. In addition, any pleadings in
12   which it is necessary to include or make reference to such information shall be filed under
13   seal.
14                   6.     Within five court days of any judgement and sentencing hearing in
15   this matter, all material containing individually identifiable health care information that
16   was produced pursuant to this Order, if any, shall be returned to the Government or
17   destroyed by shredding or similar manner. If defendant believes that he or she must
18   maintain the protected material for any reason related to appeal, defendant must seek
19   authorization from the Court within five days of the sentencing and judgement in this
20   matter.
21   SO STIPULATED.
22
23   DATED: 4/21/06                              ______________/s/______________
                                                 ARTHUR WACHTEL
24                                               Attorney for Defendant KORAKOSSIAN
25
26
     DATED: 4/25/06                              ______________/s/______________
27                                               CANDACE KELLY
                                                 Assistant United States Attorney
28

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1
                   IT IS ORDERED that disclosure of the above-described discovery materials
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     shall be restricted as set forth above.
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4    DATED: April 26, 2006                         ____________________________




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                                                   MARILYN HALL PATEL




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                                                   United States DistrictRJudge
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1      Acknowledgment of Protective Order and Proper Handling of Materials Subject
                                       Thereto
2
3             I                   am employed as a(n)                     and I am assisting
4                      (attorney) in the preparation of the defense of
5    (defendant). In anticipation of reviewing materials that contain individually identifiable
6    health information, I have reviewed the attached Order. I understand its contents. I agree
7    that I will only access the protected materials for the purposes of preparing the defense
8    case. I will not make any copies of any of the protected materials without further order of
9    the Court. I understand that failure to abide by this Order may result in sanctions by this
10   Court.
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13   DATED:
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